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UNITED STATES DISTRICT COURT Fn.§z) 53»[,
wESTERN I)ISTRICT oF TENNESSEE ~» - D,r;_
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MEMPHIS-SHELBY coUNTY c?§ h m :.>.= F;OL,O
AIRPORT AUTHoRITY, "*-' `, j H§§rc
' `-“'¢ »~Hrs
Plaintiff,

V.

ILLINOIS VALLEY PAVING COMPANY and
FIREMAN’S FUND INSURANCE COMPANY,

Defendallts.

Civil Action No. 01-3041-B-A
JURY DEMANDED

 

ILLINOIS VALLEY PAVING COMPANY,
Counter-Plaintiff,
v.

MEMPHIS-SHELBY COUNTY
AIRPORT AUTHORITY,

Counter-Defendant.

 

ILLlNOIS vALLEY PAVING COMPANY,
Third-Parry Plaimirf,

V.

JACO AIRFIELD CONSTRUCTION, INC.,

Third-Party Dei`endant.

 

JACO AIRFIELD CONSTRUCTION, INC.,
Fourth-Party Plaintii`f,

V.

NEHRING ELECTRICAL WORKS COMPANY
and GRAYBAR ELECTRIC COMPANY, INC.,

Fourth-Party Del`endants.

 

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NEHRING ELECTRICAL WORKS COMPANY
and GRAYBAR ELECTRIC COMPANY, INC..,

Fifth-Party Plaintiffs,
v.
AMERACE, a Division of Thomas & Betts Corporation,

Fifth-Party Defendants.

 

ILLINOIS VALLEY PAVING COMPANY,
Cross-Claimant,
v.

NEHRING ELECTRICAL WORKS COMPANY
and GRAYBAR ELECTRIC COMPANY, INC.,

CrosS-Defendants.

 

FIREMAN’S FUND INSURANCE COMPANY,
Cross-Claimant,

v.

.IACO AIRFIELD CONSTRUCTION, INC.,

NEHRING ELECTRICAL WORKS C()MPANY

and GRAYBAR ELECTRIC COMPANY, INC.,

Cross-Defendants.

 

ORDER GRANTING IN PART AND DENYINC IN PART
NEHRING ELECTRICAL W()RKS COMPANY’S

MOTION FOR EXTENSION OF TIME TO DISCLOSE EXPERT WITNESSES

 

The Cour't heard Nehring Electrical Works Company’s (“Nehring”) Motion for Extension of

the deadline for Nehring to disclose its expert witnesses until May 31, 2005. The Motion was

objected to by the Plaintiff, Memphis~Shel'oy County Airport Authority, on several grounds and by

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JACO Airfield Construction, lnc. Who requested that all parties be granted an extension and be
provided an opportunity to present rebuttal experts. Graybar Electric Company, Inc. also asked that
the extension apply to all parties. MernphiS-Shelby County Airport Authority, in opposition,
requested that if the Motion Was granted that all parties be provided an opportunity to present
rebuttal experts. Nehring represented to the Court that if it did identify an expert Witness, it Would
identify one additional expert regarding environmental factors affecting the Nehring aircraft lighting
cable. Having heard the argument of counsel, the Court grants Nehring’s Motion for Extension of
Tirne to Disclose Experts in part and denies it in part.

IT IS ORDERED that Nehring’s deadline for disclosing experts be extended until May 15,
2005. Nehring is allowed to identify no more than one additional expert on the subject of
environmental factors affecting the Nehring aircraft lighting cable. The remaining parties’ deadline
for disclosing experts shall be extended until June 15, 2005.

SO ORDERED, this the 2_®\1 day oprril, 2005

dasa

UNIEL BREEN
ni Ud States District Judge

bmitted

 

oM 111 (#4779)

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Notice of Distribution

This notice confirms a copy of the document docketed as number 219 in
case 2:01-CV-03041 Was distributed by fax, mail, or direct printing on
May 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

